






	





NUMBER 13-06-588-CR



COURT OF APPEALS


			

THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


                                                                                                                       


SERGIO GONZALEZ,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

                                                                                                                       


On appeal from the 107th District Court of Cameron County, Texas.


                                                                                                                       


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Benavides, and Vela


Memorandum Opinion by Justice Benavides



	Appellant, Sergio Gonzalez, was convicted of aggravated sexual assault of a child
after pleading guilty to the charge.  Tex. Penal Code Ann. § 22.021 (Vernon Supp. 2006). 
 He was sentenced to thirty-five years in the Institutional Division of the Texas Department
of Criminal Justice.   Gonzalez's appellate counsel, concluding that "there are no arguable
grounds to be advanced on appeal," filed a brief in which he reviewed the merits, or lack
thereof, of the appeal.  We affirm.

I.  DISCUSSION


A.	Compliance with Anders v. California

	Appellant's counsel filed an Anders brief, in which he concludes there is nothing that
merits review on direct appeal.  Anders v. California, 386 U.S. 738, 744 (1967).  Appellant's
brief meets the requirements of Anders.  Id. at 744-45; see High v. State, 573 S.W.2d 807,
812 (Tex. Crim. App. [Panel Op.] 1978).  In compliance with Anders, counsel presented
a professional evaluation of the record and referred this Court to what, in his opinion, are
all issues which might arguably support an appeal. See Anders, 386 U.S. at 744; Currie
v. State, 516 S.W.2d 684, 684 (Tex. Crim. App. 1974); see also High, 573 S.W.2d at 812. 
	Counsel has informed this Court that: (1) he has diligently read and reviewed the
record and the circumstances of appellant's conviction, including the hearing at which
Gonzalez entered his plea, the sentencing hearing, and the hearing on the motion for new
trial; (2) he believes that there are no arguable grounds to be advanced on appeal; and (3)
he forwarded to appellant a copy of the brief along with a letter informing appellant of his
right to review the record and to file a pro se brief.  See Anders, 386 U.S. at 744-45; see
also Stafford v. State, 813 S.W.2d 503, 509 (Tex. Crim. App. 1991) (en banc); High, 573
S.W.2d at 813. 

B.	Independent Review

	The United States Supreme Court advised appellate courts that upon receiving a
"frivolous appeal" brief, they must conduct "a full examination of all the proceedings to
decide whether the case is wholly frivolous." Penson v. Ohio, 488 U.S. 75, 80 (1988); see
Ybarra v. State, 93 S.W.3d 922, 926 (Tex. App.-Corpus Christi 2003, no pet.). 
Accordingly, we have carefully reviewed the record and have found nothing that would
arguably support an appeal.  See Bledsoe v. State, 178 S.W.3d 824, 826 (Tex. Crim. App.
2005); Stafford, 813 S.W.2d at 509.  We agree with counsel that the appeal is wholly
frivolous and without merit.  See Bledsoe, 178 S.W.3d at 827-28 ("Due to the nature of
Anders briefs, by indicating in the opinion that it considered the issues raised in the briefs
and reviewed the record for reversible error but found none, the court of appeals met the
requirements of Texas Rule of Appellate Procedure 47.1.").

II. CONCLUSION

	The judgment of the trial court is affirmed.  An appellate court may grant counsel's
motion to withdraw filed in connection with an Anders brief.  Moore v. State, 466 S.W.2d
289, 291 n.1 (Tex. Crim. App. 1971); see Stafford, 813 S.W.2d at 511 (noting that Anders
brief should be filed with request for withdrawal from case).  In accordance with Anders,
appellant's attorney has asked permission to withdraw as counsel for appellant.  See
Anders, 386 U.S. at 744.  We grant his motion to withdraw.  We further order counsel to
notify appellant of the disposition of this appeal and the availability of discretionary review. 
See Ex parte Wilson, 956 S.W.2d 25, 27 (Tex. Crim. App. 1997) (per curiam).



								__________________________

								GINA M. BENAVIDES

								Justice


Do not publish.

See Tex. R. App. P. 47.2(b).

Memorandum Opinion delivered and

filed this the 19th day of July, 2007.


